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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

  MARK SULLIVAN                                  )       CASE NO.: 2:23-CV-3174
                                                 )
                Plaintiff,                       )       JUDGE WATSON
                                                 )
         vs.                                     )
                                                 )       PLAINTIFF’S NOTICE OF
  THE OHIO STATE UNIVERSITY                      )       NONOPPOSITION TO
                                                 )       DEFENDANT THE OHIO STATE
                Defendant.                       )       UNIVERSITY’S MOTION TO
                                                 )       DISMISS
                                                 )

       Defendant The Ohio State University (“OSU”) filed a Motion to Dismiss OSU as a party

in this matter on January 5, 2024 (R.30). Plaintiff Mark Sullivan does not oppose OSU’s Motion

as it pertains to the claims included in Plaintiff’s First Amended Complaint against OSU only.

Plaintiff’s nonopposition does not extend to any other Defendant in this matter (who have not

moved for dismissal), or to any other claim that Plaintiff may have against OSU, now or in the

future, that were not included in the First Amended Complaint.

                                    Respectfully submitted,

                                    /s/ Daniel P. Petrov
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on January 22, 2024, a copy of the foregoing was filed electronically

through the Court’s electronic filing system. Notice of this filing will be sent to all parties by

operation of the Court’s electronic filing system, via electronic mail. Parties may access this filing

through the Court’s system.


                                                      /s/ Daniel P. Petrov
                                                      Attorney for Plaintiff Mark Sullivan




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